        Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 1 of 30



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                           Criminal No. LKG-22-7

                   v.

MARILYN J. MOSBY,

                            Defendant


   MOTION TO EXCLUDE OPINIONS CONTAINED FOR THE FRIST TIME IN THE
     DEFENDANT’S SUPPLEMENTAL DISCLOSURES OF SEPTEMBER 9, 2022,
                     OR TO CONTINUE THE TRIAL
                   AND FOR ADEQUATE DISCLOSURE

        The United States of America, by and through its undersigned attorneys, moves this Court

 to exclude the testimony contained in the Defendant’s late supplemental disclosure for Jerome

 Schmitt and Eric Forster or to continue the trial in this matter and order the Defendant to further

 supplement the disclosures for both witnesses in order to bring them into compliance with Federal

 Rule of Criminal Procedure 16(b)(1)(C).




                                              Respectfully submitted,

                                              EREK L. BARRON
                                              UNITED STATES ATTORNEY

                                        By:   _________/s/__________________
                                              Leo J. Wise
                                              Sean R. Delaney
                                              Aaron S.J. Zelinsky
                                              Assistant United States Attorneys
                Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 2 of 30



Table of Contents
I.         INTRODUCTION ................................................................................................................. 3
II.             PROCEDURAL HISTORY ................................................................................................ 4
      A.        Marcia Wagner’s Testimony Was Excluded .......................................................................... 4
      B. Portions of Eric Forster’s Testimony Were Excluded and The Court Ordered the Defendant to
      Supplement Her Disclosures for Him .......................................................................................... 5
      C.        The Court Ordered the Defendant to Supplement Her Disclosures for Jerome Schmitt ............... 6
III.            ARGUMENT .................................................................................................................... 6
      A. Jerome Schmitt’s Irrelevant Testimony Should Be Excluded or the Court Should Order a
      Continuance and Additional Disclosures ...................................................................................... 6
           1. Schmitt’s Late Disclosed Opinions on the Travel Industry and the Defendant’s Non-Operational
           Travel Business Should Be Excluded; If they are Not the Trial Should be Continued to Enable the
           Government to Retain a Qualified Expert on the Travel Industry ................................................. 6
           2. Schmitt’s Late Disclosed Opinions on the Impact of COVID-19 on the Stock Market and on the
           Defendant’s Investments Should Be Excluded; If they are Not, the Trial Should be Continued to
           Enable the Government to Retain a Qualified Expert on the Impact of COVID-19 on the Value of
           Publicly Traded Companies .................................................................................................... 9
           3. Schmitt is Not Qualified to Offer Opinions on the Decline in Value of Publicly Traded
           Companies...........................................................................................................................12
           4. Schmitt’s Late Disclosed Opinions on the Defendant’s Net Worth are Irrelevant and Should be
           Excluded .............................................................................................................................13
           5.      Schmitt’s Late Disclosed Supplemental Disclosures Continue to be Inadequate ....................16
      B.        The Opinions Contained in the Late Supplemental Disclosure for Eric Forster Should Be Excluded
                17
IV.             CONCLUSION ................................................................................................................20




                                                                          2
        Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 3 of 30



   I.      INTRODUCTION

        On September 7, 2022, the Court ordered the Defendant to supplement her inadequate

disclosures for Jerome Schmitt and Eric Forster by Friday, September 9, 2022. Despite the fact

that the Defendant has undoubtedly had her experts’ opinions for months and should have

disclosed them by the Court’s deadline of July 1, 2022, ECF 61 (amended scheduling order), the

Defendant chose to email the Government additional disclosures at 11:17 pm on Friday.

        These supplemental disclosures contain opinions that have never before been disclosed and

are irrelevant to the charges in this case. In particular, the Defendant has disclosed, for the first

time, that she intends to elicit from Jerome Schmitt testimony about the travel industry and

the effect of COVID-19 had on it and on “the ability of an early-stage travel-related company,

like Mahogany Elite Enterprises, LLC, to generate revenue in 2020 after the COVID-19

pandemic began.” Exhibit A at 3. For the reasons outlined below, this testimony should be

excluded. If it is not excluded, the Court must continue the trial so that the Government can

retain an expert on the travel industry to review the newly disclosed opinions, advise the

Government on whether they are reliable, and potentially testify in rebuttal. In addition, the

Defendant has disclosed, again for the first time, that she intends to elicit from Schmitt

testimony about the effects of COVID-19 on the stock market and on her investments in

particular. For the reasons outlined below, this testimony should be excluded. If it is not

excluded, the Court must continue the trial so that the Government can retain an economist or

other qualified expert to review the newly disclosed opinions, advise the Government on

whether or not they are reliable, and potentially testify in rebuttal.

        The Defendant previously moved the Court to continue the trial because her counsel was

unprepared to try this case. Specifically, defense counsel, despite publicly demanding a trial before



                                                 3
         Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 4 of 30



the Democratic primary in July 2022, a request the Court obliged by setting the trial for May 2022,

was unable to produce adequate expert disclosures. After the Court granted the Defendant’s

motion for a continuance, it set July 1, 2022, as the deadline for expert disclosures. Defense

counsel again failed to make adequate disclosures by that date as the Court found in its

Memorandum Opinion and Ordered dated September 8, 2022. ECF 105.

         The Defendant could have and should have made adequate expert disclosures on July 1,

2022. Her failure to do so has made the trial date untenable if the Court does not exclude the

testimony that the Defendant has disclosed, for the first time, less than a week before trial.

         The supplemental disclosures also contain additional inadmissible testimony that should

be excluded and, like the Defendant’s previous expert disclosures, the supplemental disclosures

do not comply with Federal Rule of Criminal Procedure 16(b)(1)(C) and the Government requests

that the Court order the Defendant to supplement them.

   II.      PROCEDURAL HISTORY

         On July 1, 2022, the Defendant noticed three proposed expert witnesses, Eric Forster,

Jerome Schmitt, and Marcia Wagner. ECF 79-1. The Government moved to exclude the testimony

of Forster and Wagner and for adequate disclosures for Schmitt and Forster. ECF 79. The Court

granted-in part the Government’s motion. ECF 105.

         A. Marcia Wagner’s Testimony Was Excluded

         In its memorandum opinion and order the Court summarized, word-for-word the

Defendant’s nine separate disclosure for Wagner. ECF 105 at 14. The Court then excluded all

nine topics holding:

         The Court agrees with the Government that these topics impermissibly seek to provide
         expert testimony about the legal standards relevant to the CARES Act and Section 457(b)
         of the Internal Revenue Code, and how those legal standards should apply to the facts of
         this case. See Adalman, 807 F.2d at 366-67 (“[I]t is the responsibility—and the duty—of

                                                  4
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 5 of 30



       the court to state to the jury the meaning and applicability of appropriate law, leaving to
       the jury the task of determining the facts which may or may not bring the challenged
       conduct within the scope of the court’s instruction as to the law.”).

Id. At the hearing, for the first time, defense counsel also disclosed that Wagner would opine on

fiduciary duties owed by plan administrators. See Transcript of September 7, 2022, Hearing at

99:18-101:7. There was no disclosure of any testimony on fiduciary duties prior to the hearing.

Indeed, the phrase never appears in the Defendant’s July 1, 2022, disclosure for Wagner. The

Court excluded this topic as well holding:

       Any expert testimony about whether the 457(b) Plan Administrator has a fiduciary duty,
       and/or breached this duty, similarly runs afoul of the general prohibition against expert
       testimony that states a legal standard or draws a legal conclusion by applying law to the
       facts of the case. See McIver, 470 F.3d at 562. Given this, the Court will exclude the
       testimony of Marcia Wagner on these topics.

ECF 105 at 14.

       B. Portions of Eric Forster’s Testimony Were Excluded and The Court Ordered the
          Defendant to Supplement Her Disclosures for Him

       The Court excluded portions of the proffered testimony of Eric Forster. The

Defendant identified nine (9) topics in the disclosure for Forster. The Court excluded topics one

(1) through four (4), eight (8) and nine (9). ECF 105 at 13. The only topics that the Court

found were potentially admissible were:

       (1) the use of the “Second Home Rider” as described in Count Two, Paragraph 18 of the
       Superseding Indictment; (2) the use of gift letters during the mortgage application process;
       and (3) the use of property management agreements.

ECF 105 at 14. While the Court found these topics potentially admissible, it ordered the Defendant

to do as follows:

       Defendant must, however, supplement her disclosures to the Government related to Mr.
       Forster’s testimony on these topics to more clearly state what opinions he will offer at trial
       and the bases for these opinions.

ECF 105 at 14.


                                                 5
          Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 6 of 30



          C. The Court Ordered the Defendant to Supplement Her Disclosures for Jerome
             Schmitt

          The Government moved the Court to order the Defendant to supplement its disclosure for

Jerome Schmitt because the disclosures were so inadequate that the Government was not able to

determine whether to raise substantive objections to it.         ECF 79.     The Court granted the

Government’s motion and found as follows:

          Defendant has not sufficiently disclosed the nature of the expert testimony to be
          offered by Mr. Schmitt. Defendant states in her expert disclosures that Mr. Schmitt
          will offer expert testimony on the following six topics: (1) Defendant’s income,
          expenses, assets, debts, and net worth; (2) Defendant’s expenses and debts from
          prior to March 2020 until present; (3) Defendant’s income and assets from prior to
          March 2020 until present; (4) Defendant’s financial circumstances, net worth and
          expenses during the years 2017 through 2021 and, in particular, will describe and
          discuss the impact of various events and circumstances on Defendant’s finances
          and net worth; (5) the condition of Defendant’s finances at specific points in time,
          including the effect of the COVID-19 pandemic on her financial condition
          beginning in the Spring of 2020 through the present; and (6) the impact that the
          COVID-19 pandemic had on Defendant’s finances after March 2020—specifically,
          at the times that she requested withdrawals from her 457(b) plan. Gov’t. 2d Mot.
          Ex. A at 12. But, Defendant has not provided any information about what
          opinions Mr. Schmitt will offer with regards to her income and expenses. See
          id. Nor has Defendant disclosed the precise time frame during which Mr.
          Schmitt proposes to opine on the condition of her finances. See id. Given this,
          Defendant’s expert disclosures from Mr. Schmitt’s testimony are inadequate. And
          so, the Court DIRECTS Defendant to supplement these disclosures to state the
          opinions that he will offer and the bases of these opinions.

ECF 105 at 15-16 (emphasis added).

   III.      ARGUMENT

   A. Jerome Schmitt’s Irrelevant Testimony Should Be Excluded or the Court Should
      Order a Continuance and Additional Disclosures

                 1. Schmitt’s Late Disclosed Opinions on the Travel Industry and the Defendant’s
                    Non-Operational Travel Business Should Be Excluded; If they are Not the Trial
                    Should be Continued to Enable the Government to Retain a Qualified Expert
                    on the Travel Industry

          In the additional disclosures provided by the Defendant on September 9, 2022, which the


                                                   6
        Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 7 of 30



Court had to order her to make, the Defendant disclosed, for the first time, that Schmitt intends to

give the following testimony:

        Mr. Schmitt will offer expert testimony as to the financial and economic effect of
        COVID-19 on the travel industry and Mahogany Elite Enterprises, LLC
        specifically. Specifically, Mr. Schmitt will offer expert testimony regarding the
        losses suffered by many travel businesses in 2020 and the ability of an early-stage
        travel-related company, like Mahogany Elite Enterprises, LLC, to generate revenue
        in 2020 after the COVID-19 pandemic began.

Defendant’s September 9, 2022, Disclosures at 3 ¶ 5 (Exhibit A).            These disclosures are

objectionable for numerous reasons.

        First, the Defendant has again failed to disclose what Schmitt’s actual opinions are. The

Defendant writes that Schmitt will testify about the “the ability of an early-stage travel-related

company, like Mahogany Elite Enterprises, LLC, to generate revenue in 2020 after the COVID-

19 pandemic began,” but doesn’t say what he actually thinks about this topic. Put another way,

what is the ability of “an early-stage travel-related” company like Mahogany Elite Enterprises to

“generate revenue in 2020 after the COVID-19 pandemic began?” The Defendant doesn’t tell us.

Thus, the Court is denied the ability to determine whether Schmitt’s opinions on this topic are

reliable.

        Second, this testimony is irrelevant. Section 2202(a)(4)(A) defines adverse financial

consequences stemming from COVID-19 to include “the closing or reduction of hours of a

business I own or operate.” The Defendant’s business, Mahogany Elite Enterprises, LLC, did not

“close” or experience a “reduction of hours,” because it was never operational. We know that

because the Defendant herself and her agents repeatedly said that prior to her indictment in this

case. On July 15, 2020, the Defendant approved a statement to be issued from the director of

communications for the Baltimore City State’s Attorney’s Office which stated, in the

Defendant’s own voice, that her travel business was a “long-term venture, hence the reason why


                                                 7
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 8 of 30



there are no clients and I have not received a single cent in revenue. There are no plans to operate

the company while I am State’s Attorney.” See ECF 110-2 at 15-16. On July 20, 2020, the

Defendant herself wrote a letter in which she stated that “I have not taken a single client for these

companies,” referring to her travel business and others, “nor have I taken in any money. Any

insinuation to the contrary is false, misleading and unethical.” Id. at 19-20. On August 19, 2020,

personal counsel for the Defendant wrote a letter in which counsel stated: “On July 2, only 19

business days after the State disclosures were due, [Ms. Mosby] amended her financial disclosures

to ensure she accounted for the three non-operational business that were established in 2019.” Id.

at 34-36 (emphasis added). Similarly, on January 21, 2021, the Chief Counsel for the Office of

the State’s Attorney for Baltimore City wrote a letter authorized by Ms. Mosby stating that

attached were “articles of incorporation for the State’s Attorney’s inoperable businesses.” Id. at

23-24 (emphasis added). On February 12, 2021, personal counsel again wrote a letter on behalf of

Ms. Mosby stating, “As [Ms. Mosby] explained, the companies are brand new and are not yet

conducting business.” Id. at 46-48 (emphasis added). 1 Because the Defendant did not operate any

travel business, any testimony on such a business’ ability to generate revenue is irrelevant.

       If Schmitt’s opinions about “losses suffered by many travel businesses in 2020 and the

ability of an early-stage travel-related company, like Mahogany Elite Enterprises, LLC, to generate

revenue in 2020 after the COVID-19 pandemic began,” are not excluded, the trial must be

continued. The Government does not have an expert on the travel industry at its disposal. While


1
 These letters, all of which were authorized by the Defendant, qualify as an exception to hearsay
under Fed. R. Evid. 802(d)((2)(d) (excepting a “statement made by the party’s agent or employee
on a matter within the scope of that relationship and while it existed.” The Government will offer
sanitized versions of these letters for admission in evidence. These versions will not indicate that
they were written in the context of prior investigations and thus will not be inconsistent with the
Court’s Memorandum Opinion and Order of September 8, 2022. The Government has moved
for leave to file a motion in limine to admit these letters in this sanitized form because the parties
have been unable to reach a stipulation as to them.
                                                  8
        Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 9 of 30



the evidence on its face is clearly irrelevant and should be excluded, without an expert on the travel

industry, the Government is unable to determine whether the testimony is reliable and to make

appropriate objections if it is not. If defense counsel had complied with Rule 16(b)(1)(C) and the

Court’s scheduling order and made this disclosure on July 1, 2022, the Government would have

been able to retain such an expert. But defense counsel chose not to and so now their actions,

again, necessitate a continuance in the event the testimony is not excluded.

                2. Schmitt’s Late Disclosed Opinions on the Impact of COVID-19 on the Stock
                   Market and on the Defendant’s Investments Should Be Excluded; If they are
                   Not, the Trial Should be Continued to Enable the Government to Retain a
                   Qualified Expert on the Impact of COVID-19 on the Value of Publicly Traded
                   Companies

        In addition to disclosing for the first time opinions on the “financial and economic effects”

of COVID-19 on the travel industry and the Defendant’s non-operational travel business, the

Defendant’s supplemental disclosures also contain opinions that were never disclosed before about

the effects of COVID-19 on the stock market generally and on the value of the Defendant’s

investments, principally in stocks but also in bonds, through her Nationwide deferred

compensation account. Exhibit A at 3 ¶3. Specifically, the Defendant intends to call Schmitt to

testify that:

        4. Mr. Schmitt will also offer expert testimony as to the financial and economic
        effects of COVID-19 on the value of businesses, including the value of Ms.
        Mosby’s investments in publicly-traded companies. Specifically, Mr. Schmitt will
        offer expert testimony describing, from a financial and economic perspective, the
        reasons why the Dow Jones Industrial Average lost 37% of its value in the spring
        of 2020 due to government regulations and economic uncertainty caused by
        COVID-19. Additionally, Mr. Schmitt will offer expert testimony as to how the
        economic effects of COVID-19 caused a decline in Ms. Mosby’s 457(b) account of
        more than 17%.

Id. These disclosures are objectionable for numerous reasons.

        First, the Defendant again fails to disclose what Schmitt’s opinions actually are on these


                                                  9
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 10 of 30



topics. The Defendant writes that Schmitt will testify about the “reasons why the Dow Jones

Industrial Average lost 37% of its value in the spring of 2020 due to government regulations and

economic uncertainty caused by COVID-19,” but doesn’t say what Schmitt thinks those reasons

are. The Defendant has also failed to identify what “government regulations,” Schmitt is referring

to and if the opinion is not excluded, the Government requests that the Court order the Defendant

to supplement her disclosures to identify them. Similarly the Defendant discloses that Schmitt,

“will offer expert testimony as to how the economic effects of COVID-19 caused a decline in Ms.

Mosby’s 457(b) account of more than 17%,” but doesn’t actually disclose what Schmitt will testify

about as to how the economic effects of COVID-19 caused a decline in Ms. Mosby’s 457(b)

account of more than 17%. “Implicit in the text of Rule 702, the Daubert Court concluded, is a

district court’s gatekeeping responsibility to ‘ensur[e] that an expert’s testimony both rests on a

reliable foundation and is relevant to the task at hand.’” Nease v. Ford Motor Co., 848 F.3d 219,

229 (4th Cir. 2017) (quoting Daubert, 509 U.S. at 597). Without knowing what Schmitt’s opinions

actually are, the Court cannot determine whether they are reliable.

       Second, these opinions are irrelevant. The CARES Act does not define “adverse financial

consequences” stemming from COVID-19 to include a decrease in the value of a 457(b) plan

participant’s investments. Section 2202(a)(4)(A) of the CARES Act, which was directly quoted

in the form the Defendant filled out in order to get both her coronavirus related distributions

provides for the following:

       Participant Coronavirus Certification and Distribution Authorization

       The Coronavirus Aid, Relief and Economic Security Act of 2020 (“CARES Act”)
       was signed into law on March 27, 2020. The CARES Act permits qualifying
       members to receive a coronavirus-related distribution. I understand that I may
       receive a distribution of up to $100,000 if I am a qualified individual. By making
       this request, I acknowledge that the amount of coronavirus-related distribution(s)
       which I may obtain from The City of Baltimore Deferred Compensation Plan is


                                                10
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 11 of 30



       limited to the amount of $100,000 and that I am not exceeding this limit. I further
       acknowledge that the City of Baltimore Deferred Compensation Plan is relying on
       my certifications in determining that I qualify for a coronavirus-related
       distribution and that I will not exceed the applicable limit.

       By signing this form, I certify that I meet at least one of the qualifications for a
       distribution as defined under the CARES Act Section 2202(a)(4)(A)
       summarized below: (check one)




Superseding Indictment Count One ¶¶ 4 & 5. None of the four definitions of “adverse financial

consequences” contained in the CARES Act and the form the Defendant filled out to get her

COVID-19 hardship distribution has anything to do with a decline in value in stocks and bonds

that the plan participants deferred compensation account is invested in. Instead, the first three have

to do with not being able to work and earn income and the fourth has to do with “the closing or

reduction of hours of a business I own or operate.” If Congress had wanted to define “adverse

financial consequences” to include a reduction in the value of the assets in a retirement account,

then it would have written the CARES Act differently. But it didn’t.

       Put another way, even if the value of the stocks and bonds in the Defendant’s Nationwide

account did decrease from the end of December 2019 to the middle of March 2020, that reduction

in value does not qualify her to take a COVID-19 hardship distribution. Her salary never decreased

in 2020 and, in fact, it increased over 2019 so we know the first three definitions of “adverse

financial consequences,” were not met. And the Defendant didn’t operate any business in 2020,

so we know the fourth definition wasn’t met. Thus, Schmitt’s opinion that her “net worth”



                                                 11
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 12 of 30



decreased because the value of the investments in her Nationwide deferred retirement account

declined is irrelevant and should be excluded. Similarly, Schmitt’s specific opinion that “Mr.

Schmitt will offer expert testimony as to how the economic effects of COVID-19 caused a decline

in Ms. Mosby’s 457(b) account of more than 17%,” is irrelevant and should be excluded for the

same reasons.

                3. Schmitt is Not Qualified to Offer Opinions on the Decline in Value of Publicly
                   Traded Companies

       Schmitt is not qualified to give the opinions contained in the September 9, 2022, 11:17 pm

disclosure, that “from a financial and economic perspective, the reasons why the Dow Jones

Industrial Average lost 37% of its value in the spring of 2020 due to government regulations and

economic uncertainty caused by COVID-19,” and “expert testimony as to how the economic

effects of COVID-19 caused a decline in Ms. Mosby’s 457(b) account of more than 17%.” As

Judge Hollander noted in United States v. Blair in the last year:

       an expert witness may not offer an opinion where the subject matter goes beyond
       the witness’s area of expertise. See Berry v. City of Detroit, 25 F.3d 1342, 1351
       (6th Cir. 1994); see also Smith v. Central Admixture Pharm. Servs., Inc., AW–07–
       3196, 2010 WL 1137507, at *3 (D. Md. Mar. 19, 2010) (“It is well established that
       ‘general expertise is not sufficient to qualify [an expert] to testify on a matter that
       requires particularized knowledge, training, education, or experience.’ ”
       (quoting Fitzgerald v. Smith & Nephew Richards, Inc., JFM-95-3870, 1999 WL
       1489199, at *3 (D. Md. Dec. 30, 1999), aff'd, 11 F. App'x 335 (4th Cir. 2001))).

No. CR ELH-19-00410, 2021 WL 5040334, at *7 (D. Md. Oct. 29, 2021)

       Schmitt is not an economist. According to his one (1) page curriculum vitae he is a

“Certified Public Accountant in Pennsylvania and is accredited in Business Valuation and certified

in Financial Forensics, and is a Certified Fraud Examiner.” ECF 79-1. The brief description of

his professional engagements in his one (1) page curriculum vitae does not disclose anything that

qualifies him to give this kind of opinion. Nor does his education qualify him to give opinions


                                                 12
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 13 of 30



that draw on economics as a discipline. His education consists of a bachelors and masters degree

in business administration. However, “expertise in one field does not qualify a witness as an expert

in other fields.” JFJ Toys, Inc. v. Sears Holdings Corp., 237 F. Supp. 3d 311, 322 (D. Md. 2017);

see Shreve v. Sears, Roebuck & Co., 166 F.Supp.2d 378, 392 (D. Md. 2001).

               4. Schmitt’s Late Disclosed Opinions on the Defendant’s Net Worth are Irrelevant
                  and Should be Excluded

       In addition to opining on the effects of COVID-19 on the stock market and the Defendant’s

investments in it, the Government learned, for the first time on September 9, 2022, at 11:17 pm,

that the Defendant intends to call Schmitt to:

       3. …. offer expert testimony that Ms. Mosby’s net worth (measured by the reported
       value of her financial assets less the reported value of her liabilities) declined by at
       least 30% in the spring of 2020 as a result of the COVID-19 pandemic, as
       documented in the attached exhibit.

Exhibit A at 3 ¶4. According to the chart prepared by Schmitt titled “Summary of M. Mosby Net

Worth,” the amount of money in the Defendant’s checking and savings accounts increased from

$8,660 on 12/31/2019 to $10,176 on 3/13/2020 and her total liabilities declined from $84,887 on

12/31/2019 to $71,393 on 3/13/2020 in that same period. The only asset that Schmitt’s chart lists

as declining in value is the Defendant’s Nationwide deferred compensation account, which was

invested principally in stocks and to a lesser extent in bonds. It is the decline in the value of the

Defendant’s Nationwide deferred compensation account that accounts for the purported decline in

her net worth from 12/31/2019 to 3/13/2020. Thus, these opinions identified as opinion number 3

appear to repeat opinion number 4, which was addressed previously.              In any event, these

disclosures are objectionable for numerous reasons.

       First, the Defendant again fails to disclose what Schmitt’s opinions actually are. Nowhere

in the late September 9, 2022, disclosure does it say why Schmitt thinks the 30 percent decline in



                                                 13
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 14 of 30



the Defendant’s net worth was “as a result of the COVID-19 pandemic.” Id. Instead, we are left

to guess. If it is not excluded as irrelevant, the Defendant should be ordered to disclose what

Schmitt’s actual opinions are on this topic so that their reliability can be determined.

       Second, even based on the little that the Defendant has disclosed, for the first time in the

September 9, 2022, disclosures, it is clear that Schmitt’s opinions on the Defendant’s net worth

are irrelevant. For the reasons described above, the decrease in the Defendant’s net worth is

entirely attributable to a decline in the value of the investments in her Nationwide retirement

account and a decline in the value of investments has nothing to do with whether a 457(b) plan

participant qualifies for a COVID-19 financial hardship distribution.

       Third, Schmitt’s opinions are irrelevant because his analysis stops, according to his chart,

at “3/13/2022.” Exhibit A at 5. The Defendant made her first COVID-19 hardship withdrawal on

May 26, 2022. Thus, her “net worth,” more than two months earlier does not make “a fact of

consequence in determining the action,” “more or less probable than it would be without the

evidence.” See Fed. R. Evid. 401. In fact, the Defendant’s net worth as of May 22, 2020, the

Friday before she took her first COVID-19 hardship withdrawal which was the end of a pay period,

was considerably higher than her net worth at the end of 2019 and considerably higher than her

net worth as of “3/13/2022.” Attached is a version of Schmitt’s “Summary of M. Mosby

Net Worth,” chart that adds a column for “5/22/2020” and one for “5/27/2020.” Exhibit B. The

5/27/2020 date was added because that is one of the dates Schmitt used on his untitled chart that

purports to show the stock price and volatility of various publicly-traded “Hotel and Resort

Entertainment” and “Travel” companies. Exhibit A at 4. As of May 22, 2020, the Friday before

she took her first COVID-19 hardship withdrawal on May 26, 2020, which was a Tuesday,

the Defendant’s net worth was $66,947 or $27,677 more than it was at the end of 2019 and

$32,151
                                                 14
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 15 of 30



more than it was as of “3/13/2020.” And as of May 27, 2020, again, a date selected by Schmitt on

his untitled chart that purports to show the stock price and volatility of various publicly-traded

“Hotel and Resort Entertainment” and “Travel” companies, the Defendant’s net worth was

$70,334 or $31,064 more than the Defendant’s net worth at the end of 2019 and $35,538 more

than her net worth as of “3/13/2020.”

        Fourth, there is no evidence the Defendant knew what her net worth was before she made

her first COVID-19 hardship withdrawal on May 26, 2020. As discussed at length in this and other

filings, Section 2202 requires a plan participant to self-certify that they had experienced “adverse

financial consequences” stemming from COVID-19 as a result of “being quarantined, furloughed

or laid off” or “having reduced work hours” or “being unable to work due to lack of childcare” or

“the closing or reduction of hours of a business I own or operate.” According to the jury

instructions jointly submitted by the Government and the Defendant, the Government must prove

that when the Defendant certified, under penalties of perjury, that she had experienced advance

financial consequences defined in this way, that those certifications were false and that the

Defendant willfully made them. Instruction 48–3 Elements of the Offense, 2 Modern Federal Jury

Instructions-Criminal § 48.01 (2020). The Defendant obviously hired Schmitt to conduct this

analysis in 2022 following her indictment in January of this year. Thus, it is irrelevant to what she

knew about her own financial condition in 2020 and whether she qualified for a coronavirus related

distribution.

        Fifth, in addition to being irrelevant, Schmitt’s opinions as to the Defendant’s net worth

are also unreliable because the Defendant fails to disclose how Schmitt has concluded that the

Defendant’s “net worth (measured by the reported value of her financial assets less the reported

value of her liabilities) declined by at least 30% in the spring of 2020 as a result of the COVID-19



                                                 15
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 16 of 30



pandemic.” Exhibit A at 5. Again, according to the chart prepared by Schmitt, any decline in the

Defendant’s “net worth,” was entirely attributable to a decrease in the value of the stocks and

bonds in her Nationwide deferred compensation plan account. But the disclosure provides no

explanation whatsoever for how Schmitt determined that the value of those assets declined “as a

result of the COVID-19 pandemic.” And as the Court recognized in its Memorandum Opinion

and Order of September 8, 2022, “The proponent of expert testimony ‘bears the burden of

establishing its admissibility.’” ECF 105 at 7 quoting Morris v. Biomet, Inc., 491 F. Supp. 3d 87,

97 (D. Md. 2020). The Defendant has not met her burden.

                5. Schmitt’s Late Disclosed Supplemental Disclosures Continue to be Inadequate

       Schmitt’s disclosures also remain inadequate. The very first sentence of the supplemental

disclosures reveal their inadequacy. The Defendant writes that, “Mr. Schmitt will offer expert

testimony on various matters involving the State’s Attorney Mosby’s income, expenses, assets,

debt and net worth.” Exhibit A at 3 ¶2. The Defendant fails to disclose what those “various

matters” are. The Defendant also fails to disclose what Schmitt’s opinions on those “various

matters” are.   Thus, the supplemental disclosure suffers from the same inadequacy as the

Defendant’s original disclosure for Schmitt.

       The very next sentence in the supplemental disclosure is that:

       Mr. Schmitt bases his opinions on his review of the evidence including, all records
       appurtenant and relevant to State’s Attorney Mosby’s income, expenses, debts,
       assets and net worth, as well as his over 20 years of experience …

Id. Merriam Webster defines “appurtenant” as “constituting a legal accompaniment.” Merriam-

Webster.com             Dictionary,            Merriam-Webster,            https://www.merriam-

webster.com/dictionary/appurtenant. Accessed 13 Sep. 2022. Thus, the Government has no idea

what documents or other evidence Schmitt has reviewed. By contrast, in its disclosure for FBI



                                                16
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 17 of 30



Forensic Accountant Jenna Bender, which the Government was not even obligated to make

because she is testifying as a fact witness, the Government identified the specific accounts that

Ms. Bender reviewed. In a letter to defense counsel dated July 1, 2022, the Government identified

the following evidence that she was summarizing:

       Specifically, the [summary] exhibits will provide a total number for inflows and a
       total number for outflows into the Defendant’s bank and credit accounts in 2019
       and 2020. The bank and credit accounts that Ms. Bender will summarize are the
       following:
       1) Bank of America account ending in #9041
       2) MECU account ending in #8205
       3) MECU account ending in #8200
       4) Bank of America credit card account ending in #5213
       5) Chase credit card account ending in #2943
       6) Citibank credit card account ending in #3104
       7) Citibank credit card account ending in #8213
       8) Barclays credit card account ending in #3683
       9) American Express credit card account ending in #65003 (formerly #64006 and
       #63008)
       10) Block token account ending in #hmre

July 1, 2022, Letter to A. Scott Bolden (Exhibit C). While the chart that Schmitt has prepared

titled “Summary of M. Mosby Net Worth,” refers to certain financial records provided in discovery

by the United States to the Defendant, it is not clear that these are the only documents that Schmitt

has relied upon. Further compounding the problem is the fact the Government has not received

any reciprocal discovery from the Defendant. Thus, the Government moves this Court to order

the Defendant to disclose the documents Schmitt has reviewed if his opinions are not excluded.

   B. The Opinions Contained in the Late Supplemental Disclosure for Eric Forster Should
      Be Excluded

       The opinions contained in the supplemental disclosure for Eric Forster should be excluded.

       First, in her September 8, 2022, supplemental disclosure the Defendant disclosed that

Forster will “testify that Ms. Mosby retained exclusive control over the Kissimmee property. The

sole basis for Mr. Forster’s opinion is his review of the “Executive Villas Property Management

                                                 17
        Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 18 of 30



Agreement” and his experience in reviewing similar property management agreements.” Exhibit

A at 2 ¶2. Whether the Defendant “retained exclusive control over the Kissimmee property,” is a

factual question that Forster is not qualified to testify to because he lacks personal knowledge of

the matter. See Fed. R. Evid. 602. Andy Booth, the owner of Executive Villas, the management

company that the Defendant gave control of the Kissimmee property to, will testify that his

company had control over the Kissimmee property. He will testify that Executive Villas could

and did rent the property to tenants without obtaining the Defendant’s permission. He will testify

that the Defendant had no authority to overrule Executive Villas’ decision over whom to rent the

property out to because it was done via an automated internet portal. And Booth will testify that

the Defendant needed to book time in the Kissimmee property through Executive Villas and could

not stay there unless she did. Further, Booth will testify, that if a member of the public had already

rented out the Kissimmee property, the Defendant could not stay there unless Executive Villas,

voluntarily, was able to arrange for an alternative rental for the prospective tenant.

        Forster’s testimony that the “Second Home Rider” allowed Ms. Mosby to rent the

property,” is also a factual question of which Forster lacks personal knowledge. Therefore,

pursuant to Rule 602, his opinion on the matter should be excluded. Andy Booth will testify that

the Defendant had the ability to rent the property to family or friends or other guests and did so on

occasion. The facts show that both parties understood that the defendant did not retain exclusive

control, and allowing expert testimony on the topic would unnecessarily confuse the issues for the

jury.

        Forster’s testimony that “the facts as described in the Superseding Indictment related to the

gift letter, if true, would not have been capable of influencing the lender to reach a different

conclusion on closing the loan,” should be excluded because it is a conclusory statement that is not



                                                 18
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 19 of 30



supported by any reliable methodology. “Reliability is to be determined by the ‘principles and

methodology’ employed by the expert.” Montgomery v. CSX Transportation, Inc., 230 F. Supp.

3d 447, 451 (D. Md. 2017) quoting Holesapple v. Barrett, 5 Fed.Appx. 177, 179 (4th Cir. 2001).

“Without testing, supporting literature in the pertinent field, peer reviewed publications[,] or some

basis to assess the level of reliability, expert opinion testimony can easily, but improperly, devolve

into nothing more than proclaiming an opinion is true ‘because I say so,’” what is also referred to

as the “ipse dixit,” of the expert. Sardis v. Overhead Door Corp., 10 F.4th 268, 292 (4th Cir. 2021)

quoting Small v. WellDyne, Inc., 927 F.3d 169, 177 (4th Cir. 2019). As Judge Hollander further

noted in Blair,

       “nothing in either Daubert or the Federal Rules of Evidence requires a district court
       to admit opinion evidence that is connected to existing data only by the ipse dixit of
       the expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146, 118 S.Ct. 512, 139 L.Ed.2d
       508 (1997). Indeed, “ipse dixit” is the “hallmark of an unreliable opinion.” Sardis,
       10 F.4th at 295, 296.

No. CR ELH-19-00410, 2021 WL 5040334, at *6 (D. Md. Oct. 29, 2021); St. Michael's Media,

Inc. v. Mayor & City Council of Baltimore, 566 F. Supp. 3d 327, 355–56 (D. Md. 2021) (same);

Montgomery v. CSX Transportation, Inc., 230 F. Supp. 3d 447, 451 (D. Md. 2017) (same); Young

v. Swiney, 23 F. Supp. 3d 596, 612 (D. Md. 2014) (same); Pugh v. Louisville Ladder, Inc., 361

Fed.Appx. 448, 454 n.4 (4th Cir. 2010); accord Alevromagiros v. Hechinger Co., 993 F.2d 417,

421 (4th Cir. 1993) (“[W]e are unprepared to agree that ‘it is so if an expert says it is so.’ ”)

(citation omitted). “Expert testimony rooted in subjective belief or unsupported speculation does

not suffice.” Zuckerman v. Wal–Mart Stores E., L.P., 611 Fed.Appx. 138, 138 (4th Cir. 2015)

(quoting Daubert, 509 U.S. at 590, 113 S.Ct. 2786) (internal quotation marks omitted).

       That is precisely what the Defendant has proffered. Forster’s opinion that “the facts as

described in the Superseding Indictment related to the gift letter, if true, would not have been



                                                 19
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 20 of 30



capable of influencing the lender to reach a different conclusion on closing the loan,” is based on

nothing more than the ipse dixit of Forster.

         Similarly, Forster’s opinion that, “if the person making the gift had sufficient funds in his

or her account at the time of the closing, the terms of this gift letter were met,” suffers from the

same methodological flaw. It is so because Forster says it is so and nothing more. For that reason

it too should be excluded.


   IV.      CONCLUSION

         For the foregoing reasons, the testimony of Jerome Schmitt and Eric Forster described in

the Defendant’s late September 9, 2022, supplemental disclosure should be excluded because it is

inadmissible. If it is not excluded, the trial date should be continued so that the Government can

retain experts to respond to the Defendant’s deliberately late filed expert disclosures. Furthermore,

the disclosures for both should be supplemented to bring them into compliance with Federal Rule

of Criminal Procedure 16(b)(1)(C).



                                  CERTIFICATE OF SERVICE

         I hereby certify that this filing was served on the Defendant via ECF electronic filing.

                                               ___/s/__________________
                                               Leo J. Wise
                                               Assistant United States Attorney




                                                  20
                                                                                                          Exhibit A
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 21 of 30


From:             Qureshi, Rizwan A.
To:              Wise, Leo (USAMD); Zelinsky, Aaron (USAMD); Delaney, Sean (USAMD)
Cc:              Bolden, A. Scott; Miller, Kelley C.; Todd, Anthony R.; "Lucius Outlaw"; "Gary Proctor"
Subject:        [EXTERNAL] Supplemental Disclosures
Date:            Friday, September 9, 2022 11:17:01 PM
Attachments:      U.S. v. Mosby - Defendant"s Supplemental Expert Disclosures.pdf


Counsel,

Please see attached.

Best,
Rizzy

Rizwan (Rizzy) Qureshi, Esq.
rqureshi@reedsmith.com

Reed Smith LLP
1301 K Street, N.W.
Suite 1000 - East Tower
Washington, D.C. 20005-3373
Phone: 202-414-9218
Mobile: 202-893-6160
Fax: 202-414-9299

                                                      ***
This E-mail, along with any attachments, is considered confidential and may well be legally privileged. If
you have received it in error, you are on notice of its status. Please notify us immediately by reply e-mail
and then delete this message from your system. Please do not copy it or use it for any purposes, or
disclose its contents to any other person. Thank you for your cooperation.
                                                                                               Disclaimer Version RS.US.201.407.01
            Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 22 of 30


                                                                                                                 Reed Smith LLP
                                                                                                             1301 K Street, N.W.
                                                                                                         Suite 1000 - East Tower
                                                                                                    Washington, D.C. 20005-3373
A. Scott Bolden                                                                                                 +1 202 414 9200
Direct Phone: +1 202 414 9266                                                                              Fax +1 202 414 9299
Email: abolden@reedsmith.com                                                                                      reedsmith.com



September 9, 2022



By Electronic Mail

Leo J. Wise
Sean R. Delaney
Aaron S. J. Zelinsky

RE: Supplemental Expert Disclosures in United States v. Marilyn J. Mosby, 22-CR-007

Dear Counsel:

As ordered by the Court on September 8, 2022, enclosed with this letter are supplemental disclosures for
defense experts Jeb Schmitt and Eric Forster.

Sincerely, I am,




A. Scott Bolden

AB:ml

Enclosures




       ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
    HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON
           RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON

                                                                               US_ACTIVE-169094876.1-ARTODD 09/09/2022 9:59 PM
       Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 23 of 30

CASE 1:22-CR-00007-LKG


                    SUPPLEMENT TO THE COURT PURSUANT TO
                   ORDER DATED SEPTEMBER 8, 2022 (DOC. NO. 105)


ERIC FORSTER

        1.      The following statements supplement the Defendant’s prior disclosures regarding
the anticipated expert testimony of Eric Forster, and are provided pursuant to the Court’s Order
dated September 8, 2022 (Document No. 105).

       2.    Mr. Forster will testify that Ms. Mosby retained exclusive control over the
Kissimmee property. The basis for Mr. Forster’s opinion is his review of the “Executive Villas
Property Management Agreement” and his experience in reviewing similar property
management agreements.

        3.     Mr. Forster will testify that the “Second Home Rider” allowed Ms. Mosby to rent
the property. The basis for Mr. Forster’s opinion is his knowledge of second home riders and
how they are used in the mortgage lending industry, and his review of the Second Home Rider in
this case as compared to second home riders typically used in the mortgage lending industry.

         4.      Mr. Forster will testify that gift letters of the type involved in this case are
commonly requested by mortgage brokers and, moreover, that exemplar gift letters and/or gift
letter language is commonly provided by mortgage brokers to prospective borrowers. The basis
for Mr. Forster’s opinion is his review of the gift letter in the record and his expertise in both
what a gift letter is and why it is requested. Mr. Forster will also testify that the facts as
described in the Superseding Indictment related to the gift letter, if true, would not have been
capable of influencing the lender to reach a different conclusion on closing the loan. Mr. Forster
will also testify that if the person making the gift had sufficient funds in his or her account at the
time of the closing, the terms of this gift letter were met.
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 24 of 30

CASE 1:22-CR-00007-LKG
                           SUPPLEMENT PURSUANT TO
                    ORDER DATED SEPTEMBER 8, 2022 (DOC. # 105)


JEROME B. SCHMITT, JR.

1. The following statements supplement the Defendant’s prior disclosures regarding the
   anticipated expert testimony of Jerome B. Schmitt, and are provided pursuant to the Court’s
   Order dated September 8, 2022 (Document No. 105).

2. Mr. Schmitt will offer expert testimony on various matters involving the State’s Attorney
   Mosby’s income, expenses, assets, debt and net worth. Mr. Schmitt bases his opinions on his
   review of the evidence including, all records appurtenant and relevant to State’s Attorney
   Mosby’s income, expenses, debts, assets and net worth, as well as his over 20 years of
   experience as a Certified Public Accountant as well as the qualifications described in his
   curriculum vitae, which was previously provided to this court, as well as the documents
   attached.

3. Mr. Schmitt will offer expert testimony as to State’s Attorney Mosby’s financial condition in
   2019 and 2020, including her income, expenses, assets, debts, and net worth. Specifically,
   Mr. Schmitt will offer expert testimony that Ms. Mosby’s net worth (measured by the
   reported value of her financial assets less the reported value of her liabilities) declined by at
   least 30% in the spring of 2020 as a result of the COVID-19 pandemic, as documented in the
   attached exhibit.

4. Mr. Schmitt will also offer expert testimony as to the financial and economic effects of
   COVID-19 on the value of businesses, including the value of Ms. Mosby’s investments in
   publicly-traded companies. Specifically, Mr. Schmitt will offer expert testimony describing,
   from a financial and economic perspective, the reasons why the Dow Jones Industrial
   Average lost 37% of its value in the spring of 2020 due to government regulations and
   economic uncertainty caused by COVID-19. Additionally, Mr. Schmitt will offer expert
   testimony as to how the economic effects of COVID-19 caused a decline in Ms. Mosby’s
   457(b) account of more than 17%.

5. Mr. Schmitt will offer expert testimony as to the financial and economic effect of COVID-19
   on the travel industry and Mahogany Elite Enterprises, LLC specifically. Specifically, Mr.
   Schmitt will offer expert testimony regarding the losses suffered by many travel businesses
   in 2020 and the ability of an early-stage travel-related company, like Mahogany Elite
   Enterprises, LLC, to generate revenue in 2020 after the COVID-19 pandemic began.
                                           Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 25 of 30

                                                                                                   Stock Price*                                 Volatility*
         Company                  Type               Industry               12/31/2019   5/27/2020    Change 12/29/2020     Change    2016-2020   2020        Increase

Hotel and Resort Entertainment
 VanEck Gaming ETF             ETF         Hotel and Resort Entertainment   $  41.21     $    33.92    -17.7%   $ 46.22       12.2%    25.8%       44.3%       71.8%
 Walt Disney                   Stock       Hotel and Resort Entertainment   $ 144.63     $   121.53    -16.0%   $ 177.30      22.6%    27.7%       48.8%       76.3%
 Cedar Fair                    Stock       Hotel and Resort Entertainment   $  53.87     $    33.06    -38.6%   $ 38.58      -28.4%    46.5%       95.7%      105.7%
 Hilton Totels                 Stock       Hotel and Resort Entertainment   $ 110.49     $    82.96    -24.9%   $ 107.71      -2.5%    30.7%       51.5%       67.5%
 Las Vegas Sands               Stock       Hotel and Resort Entertainment   $  67.69     $    50.93    -24.8%   $  58.11     -14.2%    37.3%       59.2%       58.8%
 Marriott International        Stock       Hotel and Resort Entertainment   $ 150.28     $    97.60    -35.1%   $ 128.53     -14.5%    36.0%       66.3%       84.1%
 MGM Resorts International     Stock       Hotel and Resort Entertainment   $  33.00     $    18.09    -45.2%   $  30.75      -6.8%    51.1%       96.9%       89.6%
 Invesco Dynamic Leisure
                               ETF         Hotel and Resort Entertainment   $   44.39    $    30.89           $  39.20                 25.9%       49.8%       92.6%
 & Entertainment ETF                                                                                   -30.4%                -11.7%
 Six Flags Entertainment       Stock       Hotel and Resort Entertainment   $  44.66     $    27.35    -38.8% $ 32.83        -26.5%    49.1%      95.7%        95.1%
 Wynn Resorts                  Stock       Hotel and Resort Entertainment   $ 137.71     $    86.93    -36.9% $ 114.31       -17.0%    53.4%      86.5%        62.0%
 Caesars Entertainment         Stock       Hotel and Resort Entertainment   $  59.64     $    36.42    -38.9% $  73.37        23.0%    67.7%      131.4%       94.0%
Travel
 Carnival                         Stock               Cruise                $  50.24     $    17.24    -65.7%   $   21.43    -57.3%    59.7%      123.8%      107.5%
 Norwegian Cruise Line            Stock               Cruise                $  58.41     $    17.59    -69.9%   $   25.39    -56.5%    66.0%      133.9%      103.0%
 Royal Caribbean Cruises          Stock                                     $ 132.20     $    54.29    -58.9%   $   71.60    -45.8%    58.1%      115.0%       98.0%
 American Airlines Group          Stock               Travel                $  28.57     $    11.98    -58.1%   $   15.86    -44.5%    55.3%      101.2%       83.2%
 ETFMG Travel Tech ETF*           ETF                 Travel                $  24.81     $    19.12    -22.9%   $   25.55      3.0%     N/A       48.1%         N/A
 U.S. Global Jets ETF             ETF                 Travel                $ 31.28      $    15.88    -49.2%   $   22.08    -29.4%    35.7%      68.3%        91.1%
 Southwest Airlines               Stock               Travel                $  53.77     $    33.66    -37.4%   $   46.15    -14.2%    36.8%      62.7%        70.5%
 United Airlines                  Stock               Travel                $ 88.09      $    30.69    -65.2%   $   43.74    -50.3%    54.5%      104.7%       92.1%
*Based on the adjusted close stock price             Average                                          -40.8%                -18.9%     45.4%       83.4%      85.7%
*Inception of February 13, 2020                      Median                                           -38.6%                -14.5%     47.8%       86.5%      90.3%
                                    Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 26 of 30
Summary of M. Mosby Net Worth


                                       Account No.                   12/31/19            01/31/20          02/28/20          03/13/20         Document
  ASSETS
  Checking & Savings Accounts:
  Bank of America                                                $         6,090     $       9,368     $        4,838    $       5,479   USA-004417-4440
  MECU Credit Union                                                           11                11                 11               20   USA-008252-8259
  MECU Credit Union                                                        2,559             4,059              5,060            4,677   USA-008252-8260
                                                                 $         8,660     $      13,438     $        9,909    $      10,176
  Business Interests
  Mahogany Elite Enterprises, LLC*

  Retirement Account:
                                                                                                                                         USA-010621-627;
  Nationwide**                                                   $       115,497     $     115,497     $      115,497    $      96,013
                                                                                                                                         USA-010675-681
  TOTAL ASSETS                                                   $       124,157     $     128,935     $      125,406    $     106,189
  LIABILITIES
  Credit Cards:
  American Express                                               $           -       $         -       $           21    $          18   AMEX000459-473
  Bank of America                                                         19,169            19,384             18,238           15,702   USA-002711-2709
  American Airlines                                                          974             2,480              1,402            1,581   USA-002239-2266
  Chase                                                                      -                 -                  -                -     USA-007913; 8130
  CitiBank                                                                 6,298             4,643                 11               51   USA-007118-7131
                                                                 $        26,441     $      26,507     $       19,672    $      17,352
  Student Loans:
  NelNet Loan Services***                    *                   $        14,179     $      14,112     $       14,045    $      13,978   USA-007237
  NelNet Loan Services***                                                 16,518            16,440             16,361           16,284   USA-007237
                                                                 $        30,697     $      30,552     $       30,406    $      30,262
  Automobile Lease:
  BMW Financial Services***                                      $        27,749     $      24,541     $       24,646    $      23,779   USA-007237

  TOTAL LIABILITIES                                              $        84,887     $      81,600     $       74,724    $      71,393

  NET WORTH                                                      $        39,270     $      47,335     $       50,682    $      34,796

  * As a private business, Mahogany Elite Enterprises, LLC does not receive or provide account statements; as such, the values on this
  schedule remain blank.
  ** This schedule has been prepared based on reported balances available on statements provided to Ms. Mosby on a monthly or
  quarterly basis.
  *** Amounts obtained from Equifax credit report.
                                                                     Exhibit B
Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 27 of 30
          Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 28 of 30
                                                       U.S. Department of Justice
                                                                                   Exhibit C
                                                       United States Attorney
                                                       District of Maryland

Leo J. Wise                                            Suite 400                      DIRECT: 410-209-4909
Assistant United States Attorney                       36 S. Charles Street             MAIN: 410-209-4800
Leo.Wise@usdoj.gov                                     Baltimore, MD 21201-3119          FAX: 410-962-3091




                                            July 29, 2022

A. Scott Bolden
Reed Smith LLP
1301 K Street, N.W.
Suite 1000 - East Tower
Washington, D.C. 20005-3373

           Re: United States v. Marilyn J. Mosby, Cr. No. LKG-22-7

Dear Counsel,

         As we have consistently stated, the United States does not intend to call expert witnesses
at the trial. The United States does intend, as we have stated previously during status conferences
with the Court, to call summary fact witnesses, specifically, an FBI forensic accountant, Jenna
Bender and an IRS Revenue Officer, Matthew Lopes. We will not seek to have either one qualified
as an expert as they will not be offering expert testimony as defined by Federal Rule of Evidence
702. 1 However, in order to avoid needless litigation, we are providing you with notice that satisfies
Federal Rule of Criminal Procedure 16(a)(1)(G) as to both witnesses.

        Ms. Bender will testify about several summary exhibits she has prepared pursuant to
Federal Rule of Evidence 1006. 2 These exhibits will summarize voluminous financial records
obtained by the grand jury. Specifically, the exhibits will provide a total number for inflows and


1
  Federal Rule of Evidence 702 provides:
A witness who is qualified as an expert by knowledge, skill, experience, training, or education
may testify in the form of an opinion or otherwise if:
(a) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
understand the evidence or to determine a fact in issue;
(b) the testimony is based on sufficient facts or data;
(c) the testimony is the product of reliable principles and methods; and
(d) the expert has reliably applied the principles and methods to the facts of the case.
2
  Federal Rule of Evidence 1006 provides:
The proponent may use a summary, chart, or calculation to prove the content of voluminous
writings, recordings, or photographs that cannot be conveniently examined in court. The
proponent must make the originals or duplicates available for examination or copying, or both,
by other parties at a reasonable time and place. And the court may order the proponent to
produce them in court.
      Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 29 of 30

a total number for outflows into the Defendant’s bank and credit accounts in 2019 and 2020. The
bank and credit accounts that Ms. Bender will summarize are the following:
    1) Bank of America account ending in #9041
    2) MECU account ending in #8205
    3) MECU account ending in #8200
    4) Bank of America credit card account ending in #5213
    5) Chase credit card account ending in #2943
    6) Citibank credit card account ending in #3104
    7) Citibank credit card account ending in #8213
    8) Barclays credit card account ending in #3683
    9) American Express credit card account ending in #65003 (formerly #64006 and #63008)
    10) Block token account ending in #hmre

        In compliance with Rule 1006, the Government has already produced the records Ms.
Bender will summarize in discovery. See Fed. R. Evid. 1006 (“The proponent must make the
originals or duplicates available for examination or copying, or both, by other parties at a
reasonable time and place. And the court may order the proponent to produce them in court.”).

       Revenue Officer Lopes will testify about the amount of taxes the Defendant owed or
whether she claimed a refund for tax years 2014-2019, all of which is reflected in her tax returns,
the Defendant’s tax transcripts for those years, the notices that were sent to the Defendant by the
IRS during that time period and the lien that was filed against the Defendant and the notice of it
provided to her by the IRS in 2020. These documents, the tax returns, tax transcripts, the notices
and the lien have all been provided in discovery.

       As to IRS form notices for which a physical copy is not maintained by the IRS, Revenue
Officer Lopes will read from the Internal Revenue Manual (“IRM”) for the applicable tax year
and identify the language that was used in the forms sent to the Defendant and her husband. A
copy of the relevant sections of these IRMs was previously provided to you and the relevant
language is on the following pages:
    • Form CP 14 sent on November 2, 2015: IRM (published November 7, 2014), Section
       3.14.1, page 308.
    • Form CP 14 sent on November 28, 2016: IRM (published November 10, 2015), Section
       3.14.1, page 317.
    • Form CP 49 sent on November 13, 2017: IRM (published October 20, 2016), Section
       3.14.1, page 340.
    • Form CP 49 sent on September 24, 2018: 2017 IRM (published November 9, 2017),
       Section 3.14.1, page 346
    • Form CP 49 sent on November 11, 2019: IRM (published October 30, 2018), Section
       3.14.1, page 357.
    • Form CP 71C sent on March 23, 2020: IRM (published September 17, 2019), Section
       21.3.1, page 30.
    • Form CP 42 sent on July 27, 2020: IRM (published September 17, 2019), Section 21.3.1,
       page 22.

                                                 2
        Case 1:22-cr-00007-LKG Document 111-2 Filed 09/13/22 Page 30 of 30



        Ms. Bender and Revenue Officer Lopes’ resumes are attached.


                                           Sincerely,

                                           EREK L. BARRON
                                           UNITED STATES ATTORNEY

                                     By:   _________/s/__________________
                                           Leo J. Wise
                                           Sean R. Delaney
                                           Aaron S.J. Zelinsky
                                           Assistant United States Attorneys


Encl.




                                              3
